 

   

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SECURITIES AND EXCHANGE COMMISSION, :
Plaintiff, 19 Civ. ( )
- against - ECF Case
TELEGRAM GROUP INC. and TON ISSUER INC., :
Defendants.
x

 

[PROPOSED] ORDER TO SHOW CAUSE, TEMPORARY RESTRAINING ORDER,
AND ORDER GRANTING EXPEDITED DISCOVERY AND OTHER RELIEF

On the Emergency Application (the “Application”) of Plaintiff Securities and Exchange
Commission (the “Commission”) for an order:

(1) Directing Defendants Telegram Group Inc. and TON Issuer Inc. (“Defendants”) to
show cause why an order should not be entered, pending a final disposition of this
action:

(a) Preliminarily enjoining Defendants, and each of their respective agents, servants,
employees, attorneys and other persons in active concert or participation with
each of them who receive actual notice of the injunction by personal service or
otherwise, from any ongoing and future violations of Sections 5(a) and 5(c) of the
Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77e(a), 77e(c)],
including but not limited to by delivering Grams to any person or entity or taking

any other steps to effect any unregistered offer or sale of Grams; and

 
(b) Prohibiting Defendants from destroying, altering, or concealing documents in
their possession, custody, or control, including documents concerning the
allegations in the Complaint or the assets or finances of Defendants; and

(2) Pending adjudication of the relief described in paragraph (1) above, an order:

(a) Temporarily restraining Defendants, and each of their respective agents, servants,
employees, attorneys and other persons in active concert or participation with
each of them who receive actual notice of the injunction by personal service or
otherwise, from any ongoing and future violations of Sections 5(a) and 5(c) of the
Securities Act, including but not limited to by delivering Grams to any person or
entity or taking any other steps to effect any unregistered offer or sale of Grams;

(b) Temporarily prohibiting Defendants from destroying, altering, or concealing
documents in their possession, custody, or control, including documents
concerning the aliegations in the Complaint or the assets or finances of
Defendants; and

(c) Providing that the Commission may take expedited discovery and may effect
service on Defendants by email and by email to their counsel in the United States
in preparation for a hearing on this Order to Show Cause.

The Court has considered: (1) the Complaint filed by the Commission on October 11,
2019; (2) the Local Rule 6.1 Declaration of Jorge G. Tenreiro executed on October 11, 2019; (3)
the Declaration of Daphna Waxman executed on October 11, 2019, and the exhibits thereto; and
(4) the Commission’s Memorandum of Law in Support of Its Emergency Application for an
Order to Show Cause, Temporary Restraining Order, and Granting Expedited Discovery and

Other Relief, dated October 11, 2019.

 
Based upon the foregoing documents, the Court finds that a proper showing, as required
by Section 20(b) of the Securities Act and Rule 65 of the Federal Rules of Civil Procedure, has
been made for the relief granted herein, for the following reasons:

1. It appears from the evidence presented that Defendants have engaged and/or are
about to engage in unregistered offers and sales of securities in violation of Sections 5(a) and
5(c) of the Securities Act.

2. It appears from the evidence that Defendants have obtained $1.7 billion in
proceeds from their unregistered offers and sales of securities known as “Grams,” including
$424.5 million from investors in the United States, and that Defendants are about to engage in
additional unregistered offers and sales of Grams.

3. It appears that an order enjoining Defendants from taking steps to complete their
unregistered offers and sales of Grams into the United States, including through the use of
affiliate entities such as “TON Foundation,” and prevent future unregistered offers and sales is
necessary to preserve the sfatus quo and to avoid irreparable harm to the public interest.

4. It appears that Defendants have refused to accept service of an administrative
subpoena by the Commission, and that, therefore, an order prohibiting Defendants from
destroying, altering, or concealing records of any kind, including documents concerning the
allegations in the Complaint, is necessary to protect the integrity of this litigation.

5. Good and sufficient reasons have been shown why a procedure other than by
notice of motion is necessary. It is therefore appropriate for the Court to issue this Order to
Show Cause so that prompt service on Defendants can be made and to prevent Defendants and
their agents and affiliates from making further unregistered offers and sales of securities into

United States markets.

 

 
6. This Court has jurisdiction over the subject matter of this action and over
Defendants, and venue properly lies in this District.
NOW, THEREFORE,
I.
IT 1S HEREBY ORDERED that Defendants show cause to this Court at Lf eo
14 PRC
4m. on the Z day of October, 2019, in Room /12 _ of the United States Courthouse,

Seo Reel C+ , New York, New York, 10017 why this Court should not enter an

 

Order pursuant to Rule 65 of the Federal Rules of Civil Procedure and Section 20(b) of the
Securities Act preliminarily enjoining Defendants and each of their respective agents, servants,
employees, attorneys and other persons in active concert or participation with each of them who
receive actual notice of the injunction by personal service or otherwise, from any ongoing and
future violations of Sections 5(a)} and 5(c) of the Securities Act, including but not limited to by
delivering Grams to any person or entity or taking any other steps to effect any unregistered offer
or sale of Grams.
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IT IS FURTHER ORDERED that, pending a hearing and determination of the
Commission’s Application, Defendants, and each of their respective agents, servants, employees,
attorneys and other persons in active concert or participation with each of them who receive
actual notice of the injunction by personal service or otherwise, are temporarily enjoined and
restrained from any ongoing and future violations of Sections 5(a) and 5(c) of the Securities Act,
by:

(a) without a registration statement in effect as to that security, making use of the means

and instruments of transportation or communications in interstate commerce and of

 
the mails to sell securities through the use or means of a prospectus or otherwise;
and/or

(b) making use of the means and instruments of transportation or communication in

interstate commerce and of the mails to offer to sell or offer to buy, through the use of
a prospectus or otherwise, securities as to which no registration statement has been
filed;
including but not limited to by delivering Grams to any person or entity or taking any other steps
to effect any unregistered offer or sale of Grams.

IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure
65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this
Order by personal service or otherwise: (a) Defendants’ officers, agents, servants, employees,
and attorneys; and (b) other persons in active concert or participation with Defendants or with
any person described in (a), including without limitation TON Foundation and other entities now
in existence or to be created acting in concert with Defendants to engage in the unregistered
offering or sales of securities in violation of Sections 5(a) and 5(c) of the Securities Act.

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IT IS FURTHER ORDERED that, pending a hearing and determination of the
Commission’s Application, Defendants are enjoined and restrained, and any person or entity
acting at the direction or on behalf of either or both of them is enjoined and restrained, from
destroying, altering, or concealing all documents, books, and records that are in the possession,
custody, or control of Defendants, their respective agents, servants, employees, and attorneys,
and those persons in active concert or participation with them, including documents that concern

the allegations in the Complaint.

 

 
IV.
IT IS FURTHER ORDERED that discovery is expedited as follows: pursuant to Rules
26, 30, 31, 33, 34, 36, and 45 of the Federal Rules of Civil Procedure, and without the
requirement of a meeting pursuant to Fed. R. Civ. P. 26(f), and without regard to the limitations
of Federal Rules of Civil Procedure 30(a)(2), 30(d), 31(a)(2), and 33(a)(1): p Pe
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(1) the Commission may take the depositions on twe-(2) calendar days’ notice by email,
facsimile or otherwise, of Defendants’ representatives and of representatives of any
United States purchasers of Grams; and
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(2) the Commission may obtain the production of documents within Three (3) days from
service by email, facsimile or otherwise of a request or subpoena, from the
Defendants or from any United States purchasers of Grams.
Service of any discovery requests, notices, or subpoenas may be made by in the manner
provided in paragraph V below.
Vv.
IT IS FURTHER ORDERED that a copy of this Order and the papers supporting the

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Commission’s Application be served upon Defendants on or befoFeetober / / , 2019, by
avd
personal “livery, facsieatie, overnight courier, intemational- express mait-may to Defendants’
attorney Colleen P. Mahoney, Esq., of Skadden, Arps, Slate, Meagher & Flom, LLP, at 1440
aol
New York Avenue, NW Washington, DC 20003 grby email to colleen. mahoneyi@skadden.com,
er to Defendants’ principals by email at ceo@telegram.org or pavel@telepram.org.

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VI.

  

IT IS FURTHER ORDERED that Defendants shall deliver any opposing papers in

A
response to the Order to Show Cause no later than October/é. 2019, at 5:00 p.m. Service-shall.

 
be-made by thatdaté-and-time by emailing the papers to tenreiroj@sec-gov-and_receiving a reply £ LEC
email confirming receipt or by sending-the-papers by overmight Courier service to the New York

Regional- Office of the Comiiission at Brookfield Place, 200 Vesey Street, Suite 400, New York,

 

 

New-York 10281; Atti Jorge G. Tenreiro, or such other place as coutisel for the Commission
aus ony ECF
may direct irwriting. The Commission shall have until October 44 2019, at 5:00 p.m., to a

by the most-expeditious-meats-avatlable, any reply papers upon Defendants or their counsel, if

counsel shall have made an appearance in this action’ “ un c ourlin, ape

UNITED STATES DISTRICT JUDGE

 

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Issued at: / : “of ? fm.
October _// _, 2019
New York, New York

 
